       Case 4:17-cv-00204-CDL Document 1 Filed 10/17/17 Page 1 of 9




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF GEORGIA
                                   COLUMBUS DIVISION

JANICE CANNON,

           Plaintiff,                             CASE NO.:

v.

WELLS FARGO BANK, N.A.

               Defendant.
                                       /

                     COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW, Plaintiff, JANICE CANNON, by and through the undersigned

counsel, and sues Defendant, WELLS FARGO BANK, N.A., and in support thereof

respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227

et seq. (“TCPA”).

                                     INTRODUCTION

          1.       The TCPA was enacted to prevent companies like Defendant from

invading American citizen’s privacy and to prevent abusive “robo-calls.”

          2.       “The TCPA is designed to protect individual consumers from receiving

intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740

(2012).

          3.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

scourge of modem civilization, they wake us up in the morning; they interrupt our dinner

at night; they force the sick and elderly out of bed; they hound us until we want to rip the

telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably


                                             1
      Case 4:17-cv-00204-CDL Document 1 Filed 10/17/17 Page 2 of 9




intended to give telephone subscribers another option: telling the auto-dialers to simply

stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).

       4.      According to the Federal Communications Commission (FCC),

“Unwanted calls and texts are the number one complaint to the FCC. There are

thousands of complaints to the FCC every month on both telemarketing and robocalls.

The FCC received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler

Proposal to Protect and Empower Consumers Against Unwanted Robocalls, Texts to

Wireless     Phones,   Federal   Communications       Commission,     (May      27,   2015),

https://apps.fcc.gov/edocs__public/attachmatch/DOC-333676Al.pdf.

                            JURISDICTION AND VENUE

        5.     Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

violations of the TCPA.

        6.     Subject matter jurisdiction, federal question jurisdiction, for purposes of

this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of

47 U.S.C. § 227(b)(l)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (1 1th Cir. 2014).

       7.      The alleged violations described herein occurred in Muscogee County,

Georgia. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2),




                                             2
       Case 4:17-cv-00204-CDL Document 1 Filed 10/17/17 Page 3 of 9




as it is the judicial district in which a substantial part of the events or omissions giving

rise to this action occurred.

                                 FACTUAL ALLEGATIONS

         8.      Plaintiff is a natural person, and citizen of the State of Georgia, residing in

Muscogee County, Georgia.

         9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

F. 3d 1265     (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th
Cir. 2014).

         10.      Defendant is a corporation and National Association with its principal

place of business located at 420 Montgomery Street, San Francisco, California 94163 and

which conducts business in the State of Georgia through its registered agent, Corporation

Service Company, located at 40 Technology Parkway, South Suite 300, Norcross, GA

30092.

         11.      Defendant called Plaintiff approximately one thousand (1,000) times in an

attempt to collect an alleged debt.

         12.      Defendant attempted to collect an alleged debt from Plaintiff by this

campaign of telephone calls.

         13.      Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (706) ***-2552 and was the called party and recipient of Defendant’s calls.

         14.      Upon receipt of the calls from Defendant, Plaintiffs caller ID identified

the calls were being initiated from, but not limited to, the following telephone number:

(877) 647-8552.



                                                 3
      Case 4:17-cv-00204-CDL Document 1 Filed 10/17/17 Page 4 of 9




       15.     Upon information and belief, some or all of the calls Defendant made to

Plaintiffs cellular telephone number were made using an “automatic telephone dialing

system” which has the capacity to store or produce telephone numbers to be called, using

a random or sequential number generator (including but not limited to a predictive dialer)

or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will testify that her knew it was an

auto-dialer because of the vast number of calls she received and because she heard a

pause when she answered her phone before a voice came on the line and she received

prerecorded messages from Defendant.

       16.     On several occasions over the last four (4) years, Plaintiff instructed

Defendant’s agent(s)/representative(s) to stop calling her cellular telephone.

       17.     In or about 2015, and on many other occasions, Plaintiff answered an

automated call from Defendant and demanded a cessation of calls to her cellular

telephone.

       18.     Despite clearly and unequivocally revoking any consent Defendant may

have believed they had to call Plaintiff on her cellular telephone, Defendant continues to

place automated calls to Plaintiff.

       19.     Plaintiffs       numerous         conversations      with         Defendant’s

agent(s)/representative(s) over the telephone wherein she demanded a cessation of calls

were in vain as Defendant continues to bombard her with automated calls unabated.




                                             4
       Case 4:17-cv-00204-CDL Document 1 Filed 10/17/17 Page 5 of 9




       20.     Defendant intentionally harassed and abused Plaintiff on numerous

occasions by calling several times during one day, and on back to back days, with such

frequency as can reasonably be expected to harass.

       21.     Due to the tremendous volume of calls Plaintiff received over a lengthy

period of time, she was not able to properly catalogue each and every call, however

attached hereto as Exhibit A is a small sampling of some of the automated calls Plaintiff

received to her cellular telephone from Defendant

       22.     Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice to individuals just as they did to Plaintiffs

cellular telephone in this case.

       23.     Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice, just as they did to the Plaintiffs cellular

telephone in this case, with no way for the consumer, or Defendant to remove the

number.

       24.     Defendant’s corporate policy is structured so as to continue to call

individuals like Plaintiff, despite these individuals explaining to Defendant they do not

wish to be called.

       25.     Defendant has numerous other federal lawsuits pending against them

alleging similar violations as stated in this Complaint.

        26.    Defendant has numerous complaints against them across the country

asserting that their automatic telephone dialing system continues to call despite being

requested to stop.



                                              5
       Case 4:17-cv-00204-CDL Document 1 Filed 10/17/17 Page 6 of 9




        27.    Defendant has had numerous complaints against them from consumers

across the country asking to not be called, however Defendant continues to call these

individuals.

        28.    Defendant’s corporate policy provided no means for Plaintiff to have

Plaintiffs number removed from Defendant’s call list.

        29.    Defendant has a corporate policy to harass and abuse individuals despite

actual knowledge the called parties do not wish to be called.

        30.    Not one of Defendant’s telephone calls placed to Plaintiff was for

“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

        31.    Defendant willfully and/or knowingly violated the TCPA with respect to

Plaintiff.

        32.    From each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone, Plaintiff suffered the injury of invasion of privacy and the

intrusion upon her right of seclusion.

        33.    From each and every call without express consent placed by Defendant to

Plaintiffs cellular telephone, Plaintiff suffered the injury of the occupation of her cellular

telephone line and cellular telephone by unwelcome calls, making the telephone

unavailable for legitimate callers or outgoing calls while the telephone was ringing from

Defendant’s call.

        34.    From each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of

her time. For calls she answered, the time she spent on the call was unnecessary as she



                                              6
      Case 4:17-cv-00204-CDL Document 1 Filed 10/17/17 Page 7 of 9




repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste

time to unlock the telephone and deal with missed call notifications and call logs that

reflect the unwanted calls. This also impaired the usefulness of these features of

Plaintiffs cellular telephone, which are designed to inform the user of important missed

communications.

       35.     Each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone was an injury in the form of a nuisance and annoyance to

Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the

telephone and deal with missed call notifications and call logs that reflected the unwanted

calls. This also impaired the usefulness of these features of Plaintiff s cellular telephone,

which are designed to inform the user of important missed communications.

       36.     Each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone resulted in the injury of unnecessary expenditure of

Plaintiffs cellular telephone’s battery power.

       37.     Each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone where a voice message was left which occupied space in

Plaintiffs telephone or network.

       38.     Each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone resulted in the injury of a trespass to Plaintiffs chattel,

namely her cellular telephone and her cellular telephone services.




                                              7
         Case 4:17-cv-00204-CDL Document 1 Filed 10/17/17 Page 8 of 9




        39.     As a result of the calls described above, Plaintiff suffered an invasion of

privacy. Plaintiff was also affected in a personal and individualized way by stress and

aggravation.

                                          COUNT I
                                   (Violation of the TCPA)

        40.     Plaintiff fully incorporates and realleges paragraphs one (1) through thirty

nine (39) as if fully set forth herein.

        41.     Defendant willfully violated the TCPA with respect to Plaintiff,

specifically for each of the auto-dialer calls made to Plaintiffs cellular telephone after

Plaintiff notified Defendant that Plaintiff wished for the calls to stop

        42.     Defendant repeatedly placed non-emergency telephone calls to Plaintiffs

cellular telephone using an automatic telephone dialing system or prerecorded or artificial

voice without Plaintiffs prior express consent in violation of federal law, including 47

U.S.C § 227(b)(l)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against Defendant for statutory damages, punitive damages, actual

damages, treble damages, enjoinder from further violations of these parts and any other

such relief the court may deem just and proper.

                                               Respectfully submitted,

                                                    /s/ Octavio Gomez  _
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                                               8
Case 4:17-cv-00204-CDL Document 1 Filed 10/17/17 Page 9 of 9




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                            9
